                                Case 6:19-bk-05180-KSJ                   Doc 1        Filed 08/06/19           Page 1 of 40

Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                NEURO-ENDOCEUTICALS, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4745 Dixie Dr.                                                  PO BOX 290186
                                  Port Orange, FL 32127                                           Port Orange, FL 32129
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Volusia                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.naturalhempextracts.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                                 Case 6:19-bk-05180-KSJ                     Doc 1         Filed 08/06/19              Page 2 of 40
Debtor    NEURO-ENDOCEUTICALS, LLC                                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                               Case 6:19-bk-05180-KSJ                      Doc 1        Filed 08/06/19            Page 3 of 40
Debtor   NEURO-ENDOCEUTICALS, LLC                                                                  Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                              Case 6:19-bk-05180-KSJ                      Doc 1        Filed 08/06/19             Page 4 of 40
Debtor    NEURO-ENDOCEUTICALS, LLC                                                                 Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 6, 2019
                                                  MM / DD / YYYY


                             X   /s/ MICHAEL N. MEMBRINO                                                  MICHAEL N. MEMBRINO
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Bryan K. Mickler FBN                                                  Date August 6, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Bryan K. Mickler FBN 091790
                                 Printed name

                                 Law Offices of Mickler & Mickler, LLP
                                 Firm name

                                 5452 Arlington Expy.
                                 Jacksonville, FL 32211
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     904-725-0822                  Email address      court@planlaw.com

                                 FBN 091790 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
                                Case 6:19-bk-05180-KSJ                            Doc 1        Filed 08/06/19           Page 5 of 40




 Fill in this information to identify the case:

 Debtor name         NEURO-ENDOCEUTICALS, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          August 6, 2019                          X /s/ MICHAEL N. MEMBRINO
                                                                       Signature of individual signing on behalf of debtor

                                                                       MICHAEL N. MEMBRINO
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                     Case 6:19-bk-05180-KSJ                        Doc 1         Filed 08/06/19                 Page 6 of 40


 Fill in this information to identify the case:
 Debtor name NEURO-ENDOCEUTICALS, LLC
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Ava Cool                                                                                                                                                                 $23,000.00
 552 East Charleston
 Blvd.
 Las Vegas, NV
 89104
 Connex Orlando,                                                                                                                                                              $515.00
 Inc.
 890 Lyns Dr.
 Longwood, FL
 32750
 Fedex Shipping                                                                                                                                                             $4,000.00
 942 South Shady
 Grove Road
 Memphis, TN 38120
 Fundox Inc.                                                     open account                                                                                               $3,250.00
 300 Montgomery St,
 San Francisco, CA
 94104
 George TZIMAPITIS                                                                                                                                                          $5,000.00
 2900 TIMBERCHASE
 TRL
 Littleton, CO 80160
 Gina Mewes, LLC                                                                                                                                                              $500.00
 300 Pettigru St.
 Greenville, SC 29601
 Ibex Funding, LLC                                                                                                                                                        $10,000.00
 116 Nassau St.
 #804
 New York, NY 10038
 Labor Finders                                                                                                                                                                $126.16
 1008 South French
 Ave.
 Sanford, FL 32771
 Managed Print                                                                                                                                                                $345.00
 Solutions
 2650 Metro Blvd
 Maryland Heights,
 MO 63043

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                     Case 6:19-bk-05180-KSJ                        Doc 1         Filed 08/06/19                 Page 7 of 40


 Debtor    NEURO-ENDOCEUTICALS, LLC                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Missouri                                                        possible                                                                                                   $3,000.00
 Department of                                                   employee
 Reven                                                           withholding taxes
 Harry S Truman
 State Office
 301 West High
 Street
 Jefferson City, MO
 65101
 Multivision Financial                                                                                                                                                      $8,128.49
 825 East 800
 Orem, UT 84097
 Pro Image Solutions                                                                                                                                                          $307.00
 407 Wekiva Springs
 Rd.
 #245
 Longwood, FL
 32779
 Quest Financial                                                                                                                                                          $12,000.00
 18837 Brookhurst St
 #300
 Fountain Valley, CA
 92708
 Scott A. Beaumont                                               loan                                                                                                   $420,000.00
 1821 Beacon St.
 New Smyrna Beach,
 FL 32169
 Thompson Printing                                                                                                                                                            $250.00
 601 Kingshighway
 Saint Charles, MO
 63301
 Truffly Made Inc                                                possible charge                                                                                          $20,000.00
 P.O. Box 180072                                                 for return of
 Coronado, CA 92118                                              molds
 TWIN VALLEY                                                                                                        $152,000.00                        $0.00            $152,000.00
 CAPITAL, LLC
 13013 TRAVE WAY
 Jacksonville, FL
 32246




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                       Case 6:19-bk-05180-KSJ                                          Doc 1              Filed 08/06/19                         Page 8 of 40
 Fill in this information to identify the case:

 Debtor name            NEURO-ENDOCEUTICALS, LLC

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           169,562.93

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           169,562.93


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           152,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $              3,000.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           507,421.65


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             662,421.65




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                                Case 6:19-bk-05180-KSJ                      Doc 1      Filed 08/06/19           Page 9 of 40
 Fill in this information to identify the case:

 Debtor name         NEURO-ENDOCEUTICALS, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Suntrust Bank                                           checking                        2641                                     $3,634.93



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $3,634.93
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Deposit on leased facility in Missouri                                                                                           $2,000.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                                      $2,000.00
           Add lines 7 through 8. Copy the total to line 81.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                               Case 6:19-bk-05180-KSJ                            Doc 1         Filed 08/06/19            Page 10 of 40

 Debtor         NEURO-ENDOCEUTICALS, LLC                                                                Case number (If known)
                Name

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 30,051.00    -                                    0.00 = ....                 $30,051.00
                                              face amount                                 doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                    $30,051.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last                Net book value of          Valuation method used   Current value of
                                                      physical inventory              debtor's interest          for current value       debtor's interest
                                                                                      (Where available)

 19.       Raw materials
           See attached list                          6/2019                                          $0.00                                        $25,000.00



 20.       Work in progress

 21.       Finished goods, including goods held for resale
           See attached list of
           finished goods                             6/2019                                          $0.00                                        $46,127.00



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                                    $71,127.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                         Valuation method                               Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                               Case 6:19-bk-05180-KSJ                       Doc 1     Filed 08/06/19        Page 11 of 40

 Debtor         NEURO-ENDOCEUTICALS, LLC                                                      Case number (If known)
                Name

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Xerox Work Station - leased                                                      $0.00                                              $0.00


           5 desktop computers, 2 laptops, server                                           $0.00                                        $5,000.00


           supplies including paper, staplers,
           papergoods, etc.                                                                 $0.00                                          $250.00


           lab equipment - see attached list                                                $0.00                                      $25,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                           $30,250.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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                               Case 6:19-bk-05180-KSJ                       Doc 1     Filed 08/06/19          Page 12 of 40

 Debtor         NEURO-ENDOCEUTICALS, LLC                                                      Case number (If known)
                Name


        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Zenexel brand name of supplements and
            industrial hemp products                                                        $0.00                                               $0.00



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                              Current value of
                                                                                                                              debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 4
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 Debtor         NEURO-ENDOCEUTICALS, LLC                                                     Case number (If known)
                Name

           Potential Cause of Action against Boston Fruit Slice and
           Confectionary Corp for breach of NDA and theft of
           intellectual property                                                                                                Unknown
           Nature of claim         trade secret
           Amount requested                            $0.00


           Potential claims against John Timmerman, Mike McCay,
           John Hentsel and Nicole Coffell for interference with
           landlord and other business relationships                                                                                  $0.00
           Nature of claim         potential interference
           Amount requested                              $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

           refund owed by Can-Tek labs for machine part returned                                                              $12,500.00
           Nature of claim       refund due
           Amount requested                     $12,500.00



           Reserve Infusables amount owed for defective molds                                                                 $20,000.00
           Nature of claim       refund/claim
           Amount requested                           $0.00



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                               $32,500.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 5
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 Debtor          NEURO-ENDOCEUTICALS, LLC                                                                            Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $3,634.93

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $2,000.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $30,051.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $71,127.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $30,250.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                  $32,500.00

 91. Total. Add lines 80 through 90 for each column                                                            $169,562.93           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $169,562.93




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 6
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                              Case 6:19-bk-05180-KSJ           Doc 1     Filed 08/06/19      Page 15 of 40
                                              Neuro-Endoceuticals LLC
                                                            A/R AGING DETAIL
                                                            As of August 6, 2019


DATE                TRANSACTION      NUM      CUSTOMER                               DUE DATE          AMOUNT      OPEN BALANCE
                    TYPE
91 or more days past due
 01/23/2019         Payment          1039     Reserve Infusibles                     01/23/2019       -3,138.31           -41.69
 04/04/2019         Payment          Paypal   Cbddy                                  04/04/2019         -114.98           -89.84
 05/01/2019         Invoice          1745     Steve Poznak                           05/01/2019          296.00           296.00
Total for 91 or more days past due                                                                   $ -2,957.29         $164.47
31 - 60 days past due
 06/07/2019         Invoice          1804     Dr Neal Wieder                         06/07/2019          500.00           500.00
 06/11/2019         Invoice          1809     Jamie ` Lillethorup                    06/11/2019           23.40            23.40
 06/12/2019         Invoice          1811     Dr Neal Wieder                         06/12/2019          365.00           365.00
 06/04/2019         Invoice          1798     New Smyrna Beach Wellness              06/25/2019          861.00           861.00
 06/25/2019         Invoice          1822     K Medical                              06/25/2019        1,375.95         1,375.95
 06/26/2019         Invoice          1824     Jess Savala                            06/26/2019          184.40           184.40
 07/03/2019         Invoice          1834     Florida Pain Care                      07/03/2019          663.45           663.45
Total for 31 - 60 days past due                                                                       $3,973.20        $3,973.20
1 - 30 days past due
 07/11/2019         Invoice          1846     NeoMatrix Medical                      07/11/2019          396.00           396.00
 07/11/2019         Invoice          1847     Missouri Hemp Co                       07/11/2019        3,469.50         3,469.50
 07/18/2019         Invoice          1860     Debbies Health Foods Orange City       07/18/2019          816.00           816.00
 07/10/2019         Invoice          1840     Brandon Louong                         07/20/2019          483.75           483.75
 07/10/2019         Invoice          1841     April Murray                           07/20/2019          483.75           483.75
 07/10/2019         Invoice          1842     Cayla Slaughter                        07/20/2019          483.75           483.75
 07/10/2019         Invoice          1843     Julie Doria                            07/20/2019          483.75           483.75
 07/21/2019         Invoice          1863     Marcie Kaplan                          07/21/2019          271.54           271.54
 07/24/2019         Invoice          1865     Fred & Maryann                         07/24/2019          608.95             9.01
 07/10/2019         Invoice          1838     Advanced Pain Medical Center           07/25/2019        2,505.00         2,505.00
 07/26/2019         Invoice          1872     Dr Neal Wieder                         07/26/2019          225.00           225.00
 07/26/2019         Invoice          1873     Florida Pain Care                      07/26/2019          265.00           265.00
 07/26/2019         Invoice          1875     Mark                                   07/26/2019          842.45           323.70
 07/29/2019         Invoice          1876     Mike Kramer                            07/29/2019           66.00            66.00
 07/29/2019         Invoice          1878     Debbies Health Foods Orange City       07/29/2019          217.00           217.00
 07/30/2019         Invoice          1883     NeoMatrix Medical                      07/30/2019          156.00           156.00
 07/30/2019         Invoice          1882     Jacque Whaunbush                       07/30/2019        3,110.00         3,110.00
 07/02/2019         Invoice          1830     NeoMatrix Medical                      08/01/2019          110.00           110.00
Total for 1 - 30 days past due                                                                       $14,993.44       $13,874.75
Current
 07/12/2019         Invoice          1848     Deland Natural Market                  08/11/2019          607.00           607.00
 07/29/2019         Invoice          1871     Missouri Hemp Co                       08/13/2019        4,088.25         4,088.25
 07/17/2019         Invoice          1855     Deland Natural Market                  08/16/2019        1,180.00         1,180.00
 01/04/2019         Invoice          1511     Wellness Florida                       01/04/2020        4,351.50         2,851.50
 01/30/2019         Invoice          1562     Wellness Florida                       01/30/2020           45.00            45.00
 03/22/2019         Invoice          1679     Wellness Florida                       03/21/2020        2,343.90         2,343.90
 05/21/2019         Invoice          1770     Wellness Florida                       05/20/2020          923.74           923.74
Total for Current                                                                                    $13,539.39       $12,039.39


                                                Tuesday, August 6, 2019 11:38 AM GMT-7                                      1/2
             Case 6:19-bk-05180-KSJ       Doc 1      Filed 08/06/19     Page 16 of 40
DATE    TRANSACTION   NUM   CUSTOMER                              DUE DATE       AMOUNT      OPEN BALANCE
        TYPE
TOTAL                                                                           $29,548.74      $30,051.81




                             Tuesday, August 6, 2019 11:38 AM GMT-7                                   2/2
                                                                                              Case 6:19-bk-05180-KSJ                               Doc 1       Filed 08/06/19   Page 17 of 40


                                              INVENTORY TEMPLATE


SKU #              ITEM NAME                                  PRODUCT DETAIL                           QTY IN STOCK   QTY REQUIRED   QTY ORDERED      ORDER LOCATION

   9950 CBD Tincture - 250 mg           Full Spec - 0.2% THC - 250 mg ACTIVE; Mint; 30 ml                   7
   9951 CBD Tincture -500 mg            Full Spec - 0.2% THC - 500 mg ACTIVE; Mint; 30 ml                   0
   9952 CBD Tincture - 750 mg           Full Spec - 0.2% THC - 750 mg ACTIVE; Mint; 30 ml                   0
   9953 CBD Tincture - 1000 mg          Full Spec - 0.2% THC - 1000 mg ACTIVE; Mint 30 ml                  11
  A9953 CBD Tincture - 1000 mg          Full Spec - 0.2% THC - 1000 mg ACTIVE; Mint 30 ml AMAZON           16
   9960 CBD Tincture - 1500 mg          Full Spec - 0.2% THC - 1500 mg ACTIVE; Mint 30 ml                  12
   9954 CBD Tincture - 2000 mg          Full Spec - 0.2% THC - 2000 mg ACTIVE; Mint 30 ml                   0
   9956 CBD Tincture - 2500 mg          Full Spec - 0.2% THC - 2500 mg ACTIVE; Mint 30 ml                   0
   9955 CBD Tincture - 3000 mg          Full Spec - 0.2% THC - 3000 mg ACTIVE; Mint 30 ml                   0
   9957 CBD Tincture - 4000 mg          Full Spec - 0.2% THC - 4000 mg ACTIVE; Mint 30 ml                   0
   9958 CBD Tincture - 5000 mg          Full Spec - 0.2% THC - 5000 mg ACTIVE; Mint 30 ml                   0
   9959 CBD Tincture - 6000 mg          Full Spec - 0.2% THC - 6000 mg ACTIVE; Mint 30 ml                   0




        Broad Spectrum                  T- FREE None Detect - 0.0% THC Tinctures (Guaranteed)
    403 CBD Tinc - 1000 mg Yellow       Broad Spec - ND - 0.0% THC - 1000 mg. AMC 300 mg (30%)             43
    408 CBD Tinc - 1500mg Red           Broad Spec - ND - 0.0% THC - 1500 mg. AMC 450 mg (30%)             34
    404 CBD Tinc - 500 mg               Broad Spec - ND - 0.0% THC - 500 mg. AMC 300 mg (60%)               ?
    405 CBD Tinc - 1000 mg              Broad Spec - ND - 0.0% THC - 1000 mg. AMC 600 mg (60%)              ?
        CBD Tinc - 500 mg Green 10ml                                                                        2
    406 CBD Tinc - 500 mg Green 30ml    Broad Spec - ND - 0.0% THC - 500 mg. AMC 500 mg (97.8%)            10
        CBD Tinc - 1000 mg Blue 10ml                                                                        5
    407 CBD Tinc - 1000 mg Blue 30ml    Broad Spec - ND - 0.0% THC - 1000 mg. AMC 1000 mg (97.8%)           0
        Isolate                         Capsules
   8018 2 capsule sample pack           2 capsule samples - 15 mg per cap
   8017 CBD Capsules (Vege)             30 count - 15 mg per capsule - total dose 450 mg
   8016 Extreme CBD Caps - 30 ct        Extreme Strength - 1000 mg - 33.5 mg CBD per Dose. BLUE            78
   8015 Extreme CBD Caps - 30 ct        Extreme Strength - 1500 mg - 50 mg CBD per Dose RED                56

   7000 Purple                          Seven Day                                                          14
   7001 Red                             Seven Day                                                           2
   7002 Blue                            Seven Day                                                           8
        Broad Spectrum                  Edibles (MOQ of 250 possible on 30 cts)
                                        50 mg - 100% VEGAN w/ Organic Ingreds - Moleculary Infused
                                                                                                            -
   1031 Hemp Gummies 10 mg 5ct          w/pectin.
                                        100 mg - 100% VEGAN w/ Organic Ingreds - Moleculary Infused
                                                                                                           228
   1033 Hemp Gummies 20 mg 5ct          w/pectin.
                                        300 mg - 100% VEGAN w/ Organic Ingreds - Moleculary Infused
                                                                                                            -
   1040 Hemp Gummies 10 mg 30 ct        w/pectin.
                                        1000 mg - 100% VEGAN w/ Organic Ingreds - Moleculary Infused
                                                                                                            -
   1035 Hemp Gummies 33.5 mg 30 ct      w/pectin.
                                        1200 mg - 100% VEGAN w/ Organic Ingreds - Moleculary Infused
                                                                                                            -
   1041 Hemp Gummies 80 mg 15 ct        w/pectin.
   1042 10mg Gummy                      Weight - 5 grams per gummy                                         2499
        20mg Gummy                      Weight - 5 grams per gummy                                         632
        20mg Gummy                      Weight - 13 grams per gummy                                        98
        33.5mg Gummy                    Weight - 5 grams per gummy                                         2201
        40mg Gummy                      Weight - 5 grams per gummy                                         252
        80mg Gummy                      Weight - 5 grams per gummy                                         103
        Demo Girls Gummy stock                                                                             51
        Broad Spectrum                  Topicals (MOQ of 250 possible on 1000 mg - 2 oz & 4 oz)
   1011 Topical .25oz                   Skin Salve                                                         55
   1008 Topical .50oz                   Skin Salve                                                         46
   1005 Topical .25oz/7.5 ml            25 mg total. CBD & CBG Maximum terp (100 mg)                       59
   8005 Topical 1oz/30 ml               100mg total. CBD & CBG Maximum terp                                35
   3000 Topical .25oz/7.5 ml            62.5mg total. CBD & CBG Maximum terp (250 mg)                       0
   3001 Topical 1 oz/30 ml              250mg total. CBD & CBG Maximum terp                                 0
   3002 Topical 2 oz/60 ml              250mg total. CBD & CBG Maximum terp                                 0
   3003 Topical 4 oz/120 ml             250mg total. CBD & CBG Maximum terp                                 0
   3004 Topical .25oz/30 ml             125mg total. CBD & CBG Maximum terp (500 mg)                        0
   3005 Topical 2 oz/60 ml              500mg total. CBD & CBG Maximum terp                                 0
   8103 Topical 4 oz/120 ml             500mg total. CBD & CBG Maximum terp                                 0
   3006 Topical .25oz/30 ml             250mg total. CBD & CBG Maximum terp (1000 mg)                       0
   8105 Topical 1 oz/30 ml              1000mg total. CBD & CBG Maximum terp                               14
   3007 Topical 2 oz/60 ml              1000mg total. CBD & CBG Maximum terp                                0
   3008 Topical 4 oz/120 ml             1000mg total. CBD & CBG Maximum terp                                0
        Broad Spectrum                  Pets
   2001 Dog & Cat Oil / 10 ML           TINCS/ANIMAL CARRIERS cod liver (2.5mg CBD/0.1mg CBG)              16
   2000 Dog & Cat Oil / 30 ML           TINCS/ANIMAL CARRIERS cod liver (2.5mg CBD/0.1mg CBG)              35
                                        TINCS/ANIMAL CARRIERS cod liver (2.5mg CBD/0.1mg CBG) -
                                                                                                            0
   2003 Dog & Cat Oil / 30 ML           Bacon Flavored
        Broad Spectrum                  Spa Oils
                                        100% Natural/Aroma Therapy/Assisted Recovery - Massage
                                                                                                           13
   2500 Hemp Massage Oil - Peppermint   Assisted Rovery - 100mg 4oz.(49/case)
                                        100% Natural/Aroma Therapy/Assisted Recovery - Massage
                                                                                                            2
   2502 Hemp Massage Oil - Lavender     Assisted Rovery - 100mg 4oz.(49/case)
                                                                                              Case 6:19-bk-05180-KSJ                    Doc 1   Filed 08/06/19   Page 18 of 40

                                         100% Natural/Aroma Therapy/Assisted Recovery - Massage
                                                                                                         7
   2504 Hemp Massage Oil - Peppermint    Assisted Rovery - 100mg 1oz.
                                         100% Natural/Aroma Therapy/Assisted Recovery - Massage
                                                                                                         0
   2505 Hemp Massage Oil - Lavender      Assisted Rovery - 100mg 1oz.
   2050 Hemp Anti-Aging Skin Serum Spray 25mg CBD/15ml 100% THC Free                                    37
        Broad Spectrum                   Vape
5000    Vape Additive                    Vape Additive - 100mg - 5ml                                    57
5001    Vape - 30ml                      Vape - 120mg Berries and Cream 30ml                            16


                                                                               CLICK HERE TO CREATE INVENTORY TEMPLATES IN SMARTSHEET
       Case 6:19-bk-05180-KSJ   Doc 1   Filed 08/06/19   Page 19 of 40




Neuro Lab Equipment

5 x Automated Oil filling machines
1 x gummy depositor plus molds
150 x flasks, pans, utensils, pots, pans, kettles
30 x Stainless Trays
1 x vertical tray shelf system on wheels
8 x stainless surgical steel tables
1 x burner system (gas)
2 x burner (electric)
electric heat water bath

Neuro Inventory – raw materials

Hemp raw materials
Topical raw materials
Edible raw materials
Miscelaneous raw materials (carrier oils, etc)
                                  Case 6:19-bk-05180-KSJ                         Doc 1          Filed 08/06/19       Page 20 of 40
 Fill in this information to identify the case:

 Debtor name          NEURO-ENDOCEUTICALS, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
        TWIN VALLEY CAPITAL,
 2.1                                                  Describe debtor's property that is subject to a lien                 $152,000.00                       $0.00
        LLC
        Creditor's Name

        13013 TRAVE WAY
        Jacksonville, FL 32246
        Creditor's mailing address                    Describe the lien
                                                      UCC1
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        7/2019                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        2980
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $152,000.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
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                                  Case 6:19-bk-05180-KSJ                            Doc 1           Filed 08/06/19           Page 21 of 40
 Fill in this information to identify the case:

 Debtor name         NEURO-ENDOCEUTICALS, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                               $0.00      $0.00
           Ian Kimpling                                              Check all that apply.
           2 Berry Hill Court                                           Contingent
           Saint Charles, MO 63303                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     possible claim for wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                               $0.00      $0.00
           John Hensel                                               Check all that apply.
           34 N. Brentwood Blvd.                                        Contingent
           Ste. #3                                                      Unliquidated
           Saint Louis, MO 63105                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     possible claim for wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 5
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                               Case 6:19-bk-05180-KSJ                               Doc 1           Filed 08/06/19                Page 22 of 40
 Debtor       NEURO-ENDOCEUTICALS, LLC                                                                        Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $3,000.00    $3,000.00
           Missouri Department of Reven                              Check all that apply.
           Harry S Truman State Office                                  Contingent
           301 West High Street                                         Unliquidated
           Jefferson City, MO 65101                                     Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     possible employee withholding taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                          $0.00     $0.00
           Nicole Coffell                                            Check all that apply.
           2325 N. Pointe Lane                                          Contingent
           Florissant, MO 63031                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     possible claim for wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $23,000.00
           Ava Cool                                                                    Contingent
           552 East Charleston Blvd.                                                   Unliquidated
           Las Vegas, NV 89104                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $515.00
           Connex Orlando, Inc.                                                        Contingent
           890 Lyns Dr.                                                                Unliquidated
           Longwood, FL 32750                                                          Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $4,000.00
           Fedex Shipping                                                              Contingent
           942 South Shady Grove Road                                                  Unliquidated
           Memphis, TN 38120                                                           Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 2 of 5
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                               Case 6:19-bk-05180-KSJ                         Doc 1          Filed 08/06/19                 Page 23 of 40
 Debtor       NEURO-ENDOCEUTICALS, LLC                                                                Case number (if known)
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,250.00
          Fundox Inc.                                                           Contingent
          300 Montgomery St,                                                    Unliquidated
          San Francisco, CA 94104                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          George TZIMAPITIS                                                     Contingent
          2900 TIMBERCHASE TRL                                                  Unliquidated
          Littleton, CO 80160                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.00
          Gina Mewes, LLC                                                       Contingent
          300 Pettigru St.                                                      Unliquidated
          Greenville, SC 29601                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Ibex Funding, LLC                                                     Contingent
          116 Nassau St.                                                        Unliquidated
          #804                                                                  Disputed
          New York, NY 10038
                                                                             Basis for the claim:
          Date(s) debt was incurred  8/2019
          Last 4 digits of account number 2083                               Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $126.16
          Labor Finders                                                         Contingent
          1008 South French Ave.                                                Unliquidated
          Sanford, FL 32771                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          LEDJ/Reserve Infusibles                                               Contingent
          125 Horry Street NE
                                                                                Unliquidated
          Aiken, SC 29802
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $345.00
          Managed Print Solutions                                               Contingent
          2650 Metro Blvd                                                       Unliquidated
          Maryland Heights, MO 63043                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 5
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 Debtor       NEURO-ENDOCEUTICALS, LLC                                                                Case number (if known)
              Name

 3.11      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $8,128.49
           Multivision Financial                                                Contingent
           825 East 800                                                         Unliquidated
           Orem, UT 84097                                                       Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $307.00
           Pro Image Solutions                                                  Contingent
           407 Wekiva Springs Rd.                                               Unliquidated
           #245                                                                 Disputed
           Longwood, FL 32779
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.13      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $12,000.00
           Quest Financial                                                      Contingent
           18837 Brookhurst St                                                  Unliquidated
           #300                                                                 Disputed
           Fountain Valley, CA 92708
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.14      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $420,000.00
           Scott A. Beaumont                                                    Contingent
           1821 Beacon St.                                                      Unliquidated
           New Smyrna Beach, FL 32169                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    loan
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $250.00
           Thompson Printing                                                    Contingent
           601 Kingshighway                                                     Unliquidated
           Saint Charles, MO 63301                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $20,000.00
           Truffly Made Inc                                                     Contingent
           P.O. Box 180072                                                      Unliquidated
           Coronado, CA 92118                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    possible charge for return of molds
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 5
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 Debtor       NEURO-ENDOCEUTICALS, LLC                                                            Case number (if known)
              Name

 5a. Total claims from Part 1                                                                       5a.       $              3,000.00
 5b. Total claims from Part 2                                                                       5b.   +   $            507,421.65

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $             510,421.65




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 5 of 5
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 Fill in this information to identify the case:

 Debtor name         NEURO-ENDOCEUTICALS, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   Lease of office and
             lease is for and the nature of               wharehouse space at 1
             the debtor's interest                        Corporate Woods Dr.,
                                                          Earth City, MO 63044
                  State the term remaining                Until April, 2020
                                                                                      Don Davidson
             List the contract number of any                                          13930 Missouri Bottom Road
                   government contract                                                Bridgeton, MO 63044


 2.2.        State what the contract or                   Xerox work center
             lease is for and the nature of               lease
             the debtor's interest

                  State the term remaining                43 months                   Time Payment
                                                                                      1600 District Ave
             List the contract number of any                                          #200
                   government contract                                                Burlington, MA 01803




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         NEURO-ENDOCEUTICALS, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Aswinder Suri                     125 MIDDLE STREET                                 Fundox Inc.                        D
                                               Lake Mary, FL 32746                                                                  E/F       3.4
                                                                                                                                    G




    2.2      Aswinder Suri                     125 MIDDLE STREET                                 TWIN VALLEY                        D   2.1
                                               Lake Mary, FL 32746                               CAPITAL, LLC                       E/F
                                                                                                                                    G




    2.3      Michael                           1437 Dandelion Dr.                                Ibex Funding, LLC                  D
             Membrino                          Deltona, FL 32725                                                                    E/F       3.7
                                                                                                                                    G




    2.4      Michael                           1437 Dandelion Dr.                                Multivision Financial              D
             Membrino                          Deltona, FL 32725                                                                    E/F       3.11
                                                                                                                                    G




    2.5      Michael                           1437 Dandelion Dr.                                Quest Financial                    D
             Membrino                          Deltona, FL 32725                                                                    E/F       3.13
                                                                                                                                    G




Official Form 206H                                                       Schedule H: Your Codebtors                                           Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         NEURO-ENDOCEUTICALS, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $350,000.00
       From 1/01/2019 to Filing Date
                                                                                                   Other    sales


       For prior year:                                                                             Operating a business                               $296,000.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other    sales


       For year before that:                                                                       Operating a business                                 $30,000.00
       From 1/01/2017 to 12/31/2017                                                                         Started business
                                                                                                            8/2017 minimal
                                                                                                   Other    income

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor      NEURO-ENDOCEUTICALS, LLC                                                                   Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




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 Debtor        NEURO-ENDOCEUTICALS, LLC                                                                     Case number (if known)



       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).
       Theft from wharehouse of product                                                                                     5/2019                         $600.00


 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates               Total amount or
                the transfer?                                                                                                                               value
                Address
       11.1.    Law Offices of Mickler &
                Mickler, LLP
                5452 Arlington Expy.
                Jacksonville, FL 32211                               $4283 Attorney Fees; $1717 costs                          8/2019                    $6,000.00

                Email or website address
                court@planlaw.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers           Total amount or
                                                                                                                         were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                     Date transfer          Total amount or
               Address                                           payments received or debts paid in exchange                was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                      Dates of occupancy
                                                                                                                             From-To




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
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 Debtor        NEURO-ENDOCEUTICALS, LLC                                                                 Case number (if known)



                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     125 Middle St.                                                                                            2017 until 3/2019
                 #127
                 Lake Mary, FL 32746

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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 Debtor      NEURO-ENDOCEUTICALS, LLC                                                                   Case number (if known)




          None

       Facility name and address                                     Names of anyone with                 Description of the contents        Do you still
                                                                     access to it                                                            have it?
       Don Davidson                                                  Aswinder Suri                        Bottled industrial hemp                No
       1 Corporate Woods Dr.                                         PO BOX 290186                        supplements owned by                   Yes
       Bridgeton, MO 63044                                           Port Orange, FL 32129                Earth's Natural Minerals -
                                                                                                          currently locked by landlord
                                                                                                          due to default



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                      Location of the property             Describe the property                           Value
       Earth's Natural Minerals                                      1 Corporate Woods Dr.                Bottled CBD Oil owned by            $1,000,000.00
       125 Middle St.                                                Bridgeton, MO 63044                  sister corporate
       #127
       Lake Mary, FL 32746


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                 Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known    Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known    Date of notice
                                                                     address

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 5
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 Debtor      NEURO-ENDOCEUTICALS, LLC                                                                   Case number (if known)



 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Gina Mewes, LLC                                                                                                            2017 to present
                    300 Pettigru St.
                    Greenville, SC 29601

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Gina Mewes, LLC
                    300 Pettigru St.
                    Greenville, SC 29601
       26c.2.       Aswinder Suri
                    PO BOX 290186
                    Port Orange, FL 32129

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.1 Aswinder Suri
       .                                                                                    6/2019

               Name and address of the person who has possession of
               inventory records
               Aswinder Suri
               125 MIDDLE STREET
               Lake Mary, FL 32746


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Aswinder Suri                                  125 MIDDLE STREET                                   shareholder                           84
                                                      Lake Mary, FL 32746

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       David M. Timmerman                             2227 Bentley Manor Drive                            shareholder                           10
                                                      Fenton, MO 63026

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Michael Membrino                               1437 Dandelion Dr.                                  Managing Member                       5
                                                      Deltona, FL 32725

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Richard Hastings                               2620 NW 26th St.                                    shareholder                           1%
                                                      Oklahoma City, OK 73107



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Joseph Hutchinson                                                                                  Manager                           8/2018 until
                                                                                                                                            4/8/2019

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Aswinder Suri                                  125 MIDDLE STREET                                   manager                           8/2017 Until
                                                      Lake Mary, FL 32746                                                                   7/2/2018


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 7
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 Debtor       NEURO-ENDOCEUTICALS, LLC                                                                  Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1                                                                                                              monthly
       .                                                                                                                 average of
               Aswinder Suri                                                                                             approx $8000
               125 MIDDLE STREET                                                                                         last 12
               Lake Mary, FL 32746                               $95,780.04                                              months            Distribution

               Relationship to debtor
               shareholder


       30.2                                                                                                              monthly
       .                                                                                                                 average of
                                                                                                                         approximately
               Michael Membrino                                                                                          $1750 over
               1437 Dandelion Dr.                                                                                        the last 2
               Deltona, FL 32725                                 $21,000                                                 months            salary

               Relationship to debtor
               Manager


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         August 6, 2019

 /s/ MICHAEL N. MEMBRINO                                                MICHAEL N. MEMBRINO
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
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                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Aswinder Suri                                                       common           84                                         owner
 125 MIDDLE STREET
 Lake Mary, FL 32746

 David M. Timmerman                                                  common           10                                         owner
 2227 Bentley Manor Drive
 Fenton, MO 63026

 Michael Membrino                                                    common           5                                          owner
 1437 Dandelion Dr.
 Deltona, FL 32725

 Richard Hastings                                                    common           1                                          owner
 2620 NW 26th St.
 Oklahoma City, OK 73107


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date August 6, 2019                                                          Signature /s/ MICHAEL N. MEMBRINO
                                                                                            MICHAEL N. MEMBRINO

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       August 6, 2019                                           /s/ MICHAEL N. MEMBRINO
                                                                      MICHAEL N. MEMBRINO/Manager
                                                                      Signer/Title




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NEURO-ENDOCEUTICALS, LLC                Gina Mewes, LLC                       Multivision Financial
PO BOX 290186                           300 Pettigru St.                      825 East 800
Port Orange, FL 32129                   Greenville, SC 29601                  Orem, UT 84097




Bryan K. Mickler FBN                    Ian Kimpling                          Nicole Coffell
Law Offices of Mickler & Mickler, LLP   2 Berry Hill Court                    2325 N. Pointe Lane
5452 Arlington Expy.                    Saint Charles, MO 63303               Florissant, MO 63031
Jacksonville, FL 32211



Aswinder Suri                           Ibex Funding, LLC                     Pro Image Solutions
125 MIDDLE STREET                       116 Nassau St.                        407 Wekiva Springs Rd.
Lake Mary, FL 32746                     #804                                  #245
                                        New York, NY 10038                    Longwood, FL 32779



Ava Cool                                John Hensel                           Quest Financial
552 East Charleston Blvd.               34 N. Brentwood Blvd.                 18837 Brookhurst St
Las Vegas, NV 89104                     Ste. #3                               #300
                                        Saint Louis, MO 63105                 Fountain Valley, CA 92708



Connex Orlando, Inc.                    Labor Finders                         Scott A. Beaumont
890 Lyns Dr.                            1008 South French Ave.                1821 Beacon St.
Longwood, FL 32750                      Sanford, FL 32771                     New Smyrna Beach, FL 32169




Don Davidson                            LEDJ/Reserve Infusibles               Thompson Printing
13930 Missouri Bottom Road              125 Horry Street NE                   601 Kingshighway
Bridgeton, MO 63044                     Aiken, SC 29802                       Saint Charles, MO 63301




Fedex Shipping                          Managed Print Solutions               Time Payment
942 South Shady Grove Road              2650 Metro Blvd                       1600 District Ave
Memphis, TN 38120                       Maryland Heights, MO 63043            #200
                                                                              Burlington, MA 01803



Fundox Inc.                             Michael Membrino                      Truffly Made Inc
300 Montgomery St,                      1437 Dandelion Dr.                    P.O. Box 180072
San Francisco, CA 94104                 Deltona, FL 32725                     Coronado, CA 92118




George TZIMAPITIS                       Missouri Department of Reven          TWIN VALLEY CAPITAL, LLC
2900 TIMBERCHASE TRL                    Harry S Truman State Office           13013 TRAVE WAY
Littleton, CO 80160                     301 West High Street                  Jacksonville, FL 32246
                                        Jefferson City, MO 65101
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                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 15,000.00
             Prior to the filing of this statement I have received                                        $                  4,283.00
             Balance Due                                                                                  $                 10,717.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                         CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     August 6, 2019                                                             /s/ Bryan K. Mickler FBN
     Date                                                                       Bryan K. Mickler FBN 091790
                                                                                Signature of Attorney
                                                                                Law Offices of Mickler & Mickler, LLP
                                                                                5452 Arlington Expy.
                                                                                Jacksonville, FL 32211
                                                                                904-725-0822 Fax: 904-725-0855
                                                                                court@planlaw.com
                                                                                Name of law firm




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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for NEURO-ENDOCEUTICALS, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 August 6, 2019                                                      /s/ Bryan K. Mickler FBN
 Date                                                                Bryan K. Mickler FBN 091790
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for NEURO-ENDOCEUTICALS, LLC
                                                                     Law Offices of Mickler & Mickler, LLP
                                                                     5452 Arlington Expy.
                                                                     Jacksonville, FL 32211
                                                                     904-725-0822 Fax:904-725-0855
                                                                     court@planlaw.com




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